






Opinion issued January 23, 2003 












In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00750-CR

____________


JONATHAN MENENDEZ, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the County Criminal Court at Law No. 2

Harris County, Texas

Trial Court Cause No. 1095394






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue mandate immediately.  Tex. R. App.
P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Nuchia and Hanks.

Do not publish.  Tex. R. App. P. 47.2(b).


